        Case 4:18-cv-07761-PJH Document 15 Filed 02/19/19 Page 1 of 2



 1   Sulaiman Law Group, Ltd.
     Marwan R. Daher, Admitted Pro Hac Vice
 2   2500 South Highland Avenue, Suite 200
 3   Lombard, Illinois 60148
     Telephone: (630) 575-8181
 4   Facismile: (630) 575-8188
     Email: mdaher@sulaimanlaw.com
 5   Attorney for Plaintiff
 6

 7                                   UNITED STATES DISTRICT COURT

 8                             NORTHERN DISTRICT OF CALIFORNIA

 9

10    AIMEE E. REENDERS,                             No. 4:18-cv-07761-PJH
11                      Plaintiff,                   MOTION FOR ENTRY OF DEFAULT
12           v.
13    PREMIER RECOVERY GROUP,
14    Defendant.
15
     To the Clerk of the U.S. District Court for the Northern District of California
16
            Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, Plaintiff AIMEE E.
17

18   REENDERS, requests that the Clerk enter the default of Defendant PREMIER RECOVERY

19   GROUP for failure to plead or otherwise defend as provided by the Federal Rules of Civil

20   Procedure as appears from the affidavit of Marwan R. Daher, Esq. attached hereto.
21
     Dated February 19, 2019                     Respectfully submitted,
22
                                                 s/ Marwan R. Daher
23                                               Marwan R. Daher, Admitted Pro Hac Vice
                                                 Counsel for Plaintiff
24                                               Sulaiman Law Group, Ltd.
                                                 2500 South Highland Avenue, Suite 200
25                                               Lombard, Illinois 60148
                                                 (630) 568-3056 (phone)
26                                               (630) 575-8188 (fax)
                                                 mdaher@sulaimanlaw.com
27

28
                                                     1
        Case 4:18-cv-07761-PJH Document 15 Filed 02/19/19 Page 2 of 2



 1                                    CERTIFICATE OF SERVICE
 2          The undersigned, one of the attorneys for Plaintiff, certifies that on February 19, 2019, he
     caused a copy of the foregoing PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT, to be
 3   served on all parties of record via CM/ECF, electronic mail and by U.S. Certified mail to the
     following addresses:
 4
                                       Premier Recovery Group, Inc.
 5                                     255 Great Arrow, Suite 212A
                                           Buffalo, NY 14207
 6
                                         Premier Recovery Group
 7                                         c/o Registered Agent
                                             Peltan Law, PLLC
 8                                           128 Church Street
                                          East Aurora, NY 14502
 9                                      davidpeltan@peltanlaw.com
10
                                                    Respectfully submitted,
11

12                                                 s/ Marwan R. Daher
                                                   Marwan R. Daher, Esq. Admitted Pro Hac Vice
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       2
